
Madden, Judge,
delivered the opinion of the court:
The plaintiff sues for just compensation for the temporary taking, by the Government, of a part of the plaintiff’s leasehold of certain properties on the Cooper River near Charleston, South Carolina. The Government formerly owned the land here involved, and it asserts that, by the terms of the statute authorizing the conveyance of the land to the plaintiff’s lessor, and the deed made pursuant to the statute, it had the right to take the property back, in the circumstances here present, without the payment of compensation.
In 1918 the Government acquired by eminent domain proceedings, for the use of the War Department, land including the land here involved. It constructed on a part of the land a port of embarkation, known as the Charleston Port Terminal or the Charleston Army Base Terminal. In 1923 the President transferred a portion of the land, including the Port Terminal, to the United States Shipping Board Bureau of the Department of Commerce. That Bureau operated the properties for a while and then leased them to the Port Utilities Commission of the City of Charleston, for operation as a commercial marine terminal. They were so operated from 1923 to June 15,1936. These operations resulted in a loss to the United States of $232,616.36 for the twelve-year period. In the meantime the improvements on the properties had fallen into disrepair and a committee of the House of Representatives said in 1936 that nearly one million dollars would have had to be expended to put the terminal in good operating condition.
*295Tn 1936, the City of Charleston was still suffering severely from the depression. Its industrial development had been slow, and unemployment was extensive. The bill which became the law on which this suit depends, proposed to convey the Government’s Terminal properties to the City of Charleston. It was sponsored in the Senate by Senator Byrnes, and in the House of Representatives by Representative Thomas S. McMillan. Representative McMillan said:
But I think the city is directly concerned with having this property with a view of interesting and attracting, if they can, some industrial concerns to come in there and make use of a property which is not now being used, and to try to get some activity which will be of value to the city.1
The statute as enacted, approved May 27, 1936, c. 465, 49 Stat. 1387, authorized and directed the Secretary of Commerce to convey the land in question to the City of Charleston by quitclaim deed. Section 2 of the statute said:
Sec. 2. The deed executed by the Secretary of Commerce shall include a provision prohibiting the city of Charleston from transferring the title to said property to any person, firm, or corporation and shall contain the express condition that in the event of a national emergency the property so conveyed, with all improvements placed thereon, may be taken upon order of the President by the United States for the use of the War Department during the period of such emergency.
As the bill had passed the Senate, it did not contain the provision prohibiting the City from transferring the title to the property. As it passed the house, it contained the words, “without cost to the United States” after the word “taken”, in the clause “may be taken upon order of the President”, and also the restriction against transferring the title. The Senate refused to accept the House amendments, and the bill went to conference. The conference committee, without any statement of reason, recommended that the House recede from its amendment inserting the words “without cost to the United States” and the Senate recede from its objection to the provision forbidding the transfer of title. The recommendation *296of the Conference Committee was followed and the bill was passed, containing Section 2 as quoted above. The deed, pursuant to the statute, was made on June 15,1936, and contained the provisions of the statute concerning the transfer of title and the taking of the property upon the order of the President. On June 18, three days after the execution of the deed, the City Council of the City of Charleston authorized the leasing to the plaintiff of a part of the property consisting of approximately 420 acres, at a rental of $1.00 per year for fifty years, with the right of renewal for an additional fifty years. The resolution of the Council recited that the plaintiff desired to establish a manufacturing plant on the property, and that the establishment of such a plant would be of great benefit to the community in furnishing employment, and in purchasing water from the Charleston Municipal Water System, thus providing funds to enable the city to improve its water supply facilities. On the next day, June 19, the city made its lease to the plaintiff. The lease required the plaintiff to expend not less than $5,000,000 within two years in erecting a manufacturing plant on the leased property. Also on June 19 the City and the plaintiff made a contract under which the plaintiff was to pay the city $30,000 a year for water, for the last 44 years of its 50-year lease, and lesser amounts during the first six years. The plaintiff entered the property under fits lease and spent more than $11,000,000 in the construction of a paper mill and other improvements to the property.
On September 8,1939, the President proclaimed a national emergency. 54 Stat. 2643. On May 27,1941, the President proclaimed an unlimited national emergency. 55 Stat. 1647. On May 5,1941, the President wrote a letter to the Mayor of Charleston, in which he referred to the provisions of the statute here under construction authorizing the taking of the property upon order of the President during the period of an emergency, and saying that the property was, by his letter, taken for the use of the War Department. The plaintiff was notified and delivered up possession of the property requested. It gave up 91 y3 acres of land on which were various improvements, including docks with more than 1,500 feet of deep-water frontage, headhouses, warehouses, railroad *297tracks and other structures. The plaintiff was required to remove its machinery, equipment, stores, offices, and other property, and to expend money in constructing, equipping and altering structures for the relocation of its property and the continuance of its operations. The plaintiff was excluded from all the property taken until February 1946, when it was given temporary possession of a part. All the rest of the property was returned to the plaintiff in February 1947, pursuant to a formal order of the President dated February 3, 1947.
Our question is whether Section 2 of the Act of May 27, 1936, quoted above, authorized the Government to take the temporary use of the property without compensation to the plaintiff. The plaintiff urges that Congress was aware that its proposed grantee, the City of Charleston, would arrange by lease or otherwise for the construction on the property of one or more industrial plants; that no enterpriser would have spent his money to construct such a plant if his possession of it would have been subject to the right of the Government to dispossess him, without compensation, in case of an emergency. This argument has much force, in the abstract, and it must have had force in Congress. As we have seen, the bill as passed by the Senate contained the provision authorizing the President to take back the property during the period of an emergency, but was silent on the question of compensation. In that posture, the natural construction of the bill might well have been, that such a taking would not require compensation. At that stage there was nothing in the legislative history, except the circumstance adverted to above, which would have indicated a contrary intent. The House of Representatives had a definite intent, and it made that intent explicit by inserting the words “without cost to the Government.” Whatever may have been the Senate’s original intent, its refusal to agree to the House amendment showed that it was not willing to authorize a retaking without compensation. At least it was not willing to do so explicitly. After the Conference, the House acceded to the Senate’s position. We think that the intent of Congress, then, as shown by this history, was either that it intended that the Government should pay compen*298sation, if it retook the property, or that the question of whether it should pay compensation or not should be decided, presumably by a court, without being foreclosed by an express statutory provision.
If Congress had the former intention, the Government is liable. And we think that if Congress had the latter and less definite intention, the Government is likewise liable. The Constitutional provision for the payment of just compensation for the taking of private property for public use seems clearly applicable unless the right to take without compensation can be spelled out of the title papers upon which the plaintiff’s title is founded. But Congress was, as we have said, unwilling that the title of the City of Charleston should be so incumbered by the Act of Congress. The plaintiff became, then, the private owner of an interest in the property, and the Constitution gives it the right to be compensated for its taking.
The Government urges that the plaintiff’s title is defective because the City of Charleston was forbidden, by the statute and the deed to it, to make a lease for fifty years with the right in the plaintiff to renew for a similar term. We think not. The provision of section 2 of the act that the deed from the Secretary of Commerce should “include a provision prohibiting the City of Charleston from transferring the title to said property to any person, firm, or corporation,” could hardly, in view of the purpose of the legislation, have been intended to prohibit the City from leasing the property for a term sufficiently long to justify industrial enterprisers in making large expenditures for the construction of plants. Congress must have intended that the City should not convey the fee to the property and thereby sever itself from all property interest in it. If the statutory provision had been inserted in a private conveyance, it would have been void, or at least would have received the narrowest possible construction, because of its collision with the policy against restraints on alienation. Congress can, of course, make its own policy in this regard, but we think it is not improper to give the usual policy some effect in the interpretation of an ambiguous statute. Here, a construction of the statute which would have forbidden leasing would have frustrated the objective *299of the legislation. We think that the City of Charleston, when it, contemporaneously with the enactment of the statute, assumed that it had the right to make the lease to the plaintiff, appraised rightly the intent of Congress.
The Government asserts that it took the property in question under a claim that it had the right to take it without compensation, and that it cannot, therefore, be judicially required to compensate the plaintiff. It cites Tempel v. United States, 248 U. S. 121. We see nothing in the President’s letter, exercising his statutory authority to take the property, which indicates that he had any thought, one way or the other, about the necessity for paying compensation for the taking. In United States v. Causby, 328 U. S. 256, and United States v. Dickinson, 331 U. S. 745, the Court regarded the consent of the United States to be sued upon claims “founded upon the Constitution” as independent of circumstances giving rise to a contract implied in fact.
The Government must compensate the plaintiff for the taking of its property. The amount which the plaintiff may recover has been reserved for further proceedings before a Commissioner of this Court.
Howell, Judge; Whitaker, Judge; Littleton, Judge; and Jones, Chief Judge, concur.
findings op pact
The court makes findings of fact, based upon the evidence,, the report of Commissioner C. Murray Bernhardt, and the briefs and arguments of counsel, as follows:
1. Plaintiff is a Delaware corporation authorized to do business in South Carolina, with its principal office in New York City.
2. In April 1918 the United States took by condemnation proceedings for War Department use certain land on the Cooper River, near North Charleston, South Carolina, paid the owners therefor, and thereafter erected certain improvements on a portion of the property for use as a port of embarkation, which comprised the Charleston Port Terminal, sometimes known as the Charleston Army Base Terminal.
*3003. By Executive Order No. 3920, dated November 3,1923, the President transferred a portion of said properties, including the Charleston Port Terminal properties, from the War Department to the United States Shipping Board Bureau of the Department of Commerce, pursuant to authority contained in section IT of the act of Congress approved June 5, 1920 (Public Law No. 261, 66th Cong., 41 Stat. 994). The said Bureau, through the Merchant Fleet Corporation, operated the said properties, or leased them to the Port Utilities Commission of the City of Charleston, South Carolina, for operation as a commercial marine terminal from December 15,1923, until June 15,1936. During this period the properties were operated at a net loss to the United States. By June 15, 1936, the improvements on said properties had deteriorated, and substantial expenditures would have been required to place the properties in a proper state of repair.
4. On May 27,1936, the President approved an Act of Congress (Public Law 624,74th Cong., 49 Stat. 1387) “Authorizing the Secretary of Commerce to convey the Charleston Army Base Terminal to the city of Charleston, South Carolina.”
The act provided in pertinent part:
Sec. 2. The deed executed by the Secretary of Commerce shall include a provision prohibiting the city of Charleston from transferring the title to said property to any person, firm, or corporation and shall contain the express condition that in the event of a national emergency the property so conveyed, with all improvements placed thereon, may be taken upon order of the President by the United States for the use of the War Department during the period of such emergency.
5. In passing the House of Representatives, S. 3789 of the 74th Congress, which was later enacted as Public Law 624, supra, in an amended form, an amendment was inserted to the effect that if the property authorized to be conveyed by the bill should be taken over by the United States, with all improvements placed thereon, the taking over should be “without cost to the United States.” The Conference Committee appointed to resolve the differences between the House and Senate removed this amendatory language from the bill *301and the Conference Eeport was adopted by the Congress prior to enactment of the bill.
Senate Eeport No. 1714,74th Cong., 2d Sess., 1936, reporting S. 3789, appears in the record as Annex 2 to the Stipulation of Facts submitted by the parties to this suit. House Eeport No. 2403, 74th Cong., 2d Sess., 1936, reporting the bill appears in the record as Annex 3 to the Stipulation of Facts. House Eeport No. 2670, 74th Cong., 2d Sess., 1936, the report of the Committee of Conference on the bill, appears in the record as Annex 4 to the Stipulation of Facts.
6. Pursuant to said act, the Secretary of Commerce, by deed dated June 15, 1936, conveyed to the City Council of Charleston certain properties therein described comprising a portion of the Charleston Port Terminal properties, together with the improvements thereon. Pursuant to the requirements of the act approved May 27, 1936, the deed contained the following provisions, inter alia:
Provided always, and this conveyance is upon the express condition that the Party of the Second Part shall not transfer or convey the title to the property hereby conveyed to the Party of the Second Part, to any person, firm, or corporation.
Provided always, and this conveyance is upon the express condition that, in the event of a national emergency, the property hereby conveyed, with all improvements thereon, may be taken upon order of the President for the use of the War Department during the period of such emergency.
The deed was duly recorded in the Eegister of Mesne Conveyance Office for the County of Charleston, South Carolina.
7. By resolution of June 18, 1936, the City Council of Charleston authorized the leasing of approximately 420 acres so conveyed, to the West Virginia Pulp and Paper Company at a rental of one dollar per annum for a term commencing on the date of the lease and expiring on June 30, 1986, with the privilege of renewal for an additional fifty-year term subject to the performance of certain conditions specified in the lease. The resolution, which appears in full in the record as Plaintiff’s Exhibit No. 1, provided in part as follows:
Whereas, West Virginia Pulp and Paper Company, a corporation under the laws of the State of Delaware. *302duly authorized and empowered to do business in the State of South Carolina, is desirous of establishing a manufacturing plant in the County of Charleston; and Whereas, the establishment of such a plant will be of great benefit to this community in furnishing employment and in the expenditure of large funds in exchange for supplies and labor, and for the purchase of water to be used in the manufacturing operations, the said water being purchased from the municipal water supply of Charleston thus enabling the city to improve this supply by obtaining water from the Edisto Eiver; and Whereas, the said West Virginia Pulp and Paper Company is desirous of using and occupying a portion of the Port Terminals property hereinabove referred to, and the City Council of Charleston has agreed to lease the said portion of the property to said company upon the terms and conditions as more fully set out in a certain lease, a copy of which is attached to and made a part of this resolution * * *.
8. By lease dated June 19, 1936, which appears in full in the record as Annex 6 to the Stipulation of Facts submitted by parties to this suit, the city of Charleston leased to plaintiff as lessee the said property, including docks, warehouses, headhouses, loading platforms, railroad facilities, storage areas, residential buildings, and other fixtures and equipment, for a term expiring June 30, 1986, with a renewal privilege for 50 years. By the terms of the lease, plaintiff was required to and did expend within two years after execution of the lease not less than $5,000,000 in building and equipping a manufacturing plant on the leased premises. The lease further provided in part as follows:
Fifth: The aforesaid leased property is subject to certain rights and easements retained by the United States of America and apparent on the face of the deed of conveyance from the United States of America to the Lessor. * * *
Sixth: The Lessor does hereby covenant and agree with the Lessee that it has good and lawful fee simple title to the premises hereby leased, subject only, however, to any and all rights or easements owned or retained by the United States of America or hereinabove or hereinafter set out, and also subject to all of the terms and conditions of any and all Acts of Congress under which title to the said Premises was obtained by the *303Lessor or any and all other Acts of Congress or Executive Orders relating thereto or regulating the same.
9. On June 18, 1936, the City Council of Charleston adopted a resolution authorizing the proper city authorities to enter into a contract for the furnishing of water to plaintiff for use upon the leased premises. On June 19,1936, the Charleston authorities formally contracted with plaintiff to supply it with water for a period of 50 years 25,000,000 gallons a day at the following rates, which plaintiff agreed to pay whether or not it used the water:
$12,000 per year for the first two years; $18,000 per year for the next two years; $24,000 per year for the next two years; and $30,000 per year for the remaining 44 years.
The contract also provided in part:
Twenty-Third: The parties are agreed and hereby declare that the main purpose of this agreement is to enable the Commissioners [i. e., Commissioners of Public Works for the city of Charleston] to assure to The City of Charleston at all times a full and adequate supply of water for its citizens and residents and to assure to the Company [i. e., plaintiff here] that it may at all times have an adequate supply of water for its manufacturing purposes * * *.
Plaintiff performed its agreements under the water contract.
10. On June 19, 1936, plaintiff entered into physical possession of the properties and remained in full possession and control until 1941. In the interim, plaintiff improved the properties through the construction of a pulp and paper mill and the making of repairs, alterations and additions to the buildings in an amount stated in plaintiff’s income tax return audited by the Bureau of Internal Bevenue to be in excess of $11,000,000. The lessee has paid the rentals required by the lease and has otherwise complied with all terms and conditions of the lease.
11. On September 8, 1939, the President of the United States issued a proclamation proclaiming a national emergency in connection with the observance, safeguarding and enforcement of neutrality and the strengthening of the national defense within the limits of peacetime authorizations (54 Stat. 2643). On May 27, 1941, the President of the *304United States issued a proclamation proclaiming that an unlimited national emergency confronted this country, which required that its military, naval, air and civilian defenses be put on the basis of readiness to repel any and all acts or threats of aggression directed toward any part of the Western Hemisphere (55 Stat. 1647).
12. On May 5, 1941, the President wrote the Mayor of the city of Charleston as follows:
The White House, Washington, May 5,19J¡1.
Honorable Henry W. Lockwood,
Mayor of the Gity of Charleston,

Charleston, 8. C.

Dear Mayor Lockwood : In my letter of February 26, 1941, you were informed that in view of the present national emergency and pursuant to the Act of Congress approved May 27,1936 (49 Stat. 1387) a parcel of land adjoining the Charleston Ordnance Depot, South Carolina, would be taken by the United States for the use of the War Department during the period of the existing emergency in order to provide a proper safety and operating zone for the ammunition dock at that Depot.
The Secretary of War has recommended to me that an additional parcel of land, adjoining this Depot, which was conveyed by the United States to the City of Charleston by deed dated June 15,1936, pursuant to the provision of the above-mentioned Act, be taken by the United States for the purpose of providing additional Quartermaster warehousing and docking facilities at the Port of Charleston. The additional tract of land now desired by the War Department is outlined in red on the inclosed map.
The Act of Congress authorizing the conveyance of the land in question to the City of Charleston and the deed of conveyance provided that in the event of a national emergency, the property conveyed, with all improvements placed thereon, may be taken upon order of the President of the United States for the use of the War Department during the period of such emergency.
It is understood that the West Virginia Pulp and Paper Company has a large investment on the land adj acent to that desired by the War Department. Also, I am informed by the Secretary of War that most of the Company’s present investment would not need to be disturbed by the War Department’s occupancy of the warehouses and docks. The warehouses are at present *305used by this Company mainly for storage purposes and ample time can be given during the rehabilitation of this property to allow the West Virginia Pulp and Paper Company to provide facilities elsewhere on the area remaining under the jurisdiction of the City of Charleston.
In view of the present national emergency and after careful consideration of the recommendation by the Secretary of War, I have concluded that the property in question is needed by the United States for the use of the War Department during the present emergency. Accordingly, you are informed that pursuant to the Act of Congress approved May 27, 1936 (49 Stat. 1387), said property with all improvements placed thereon, is hereby upon this, my order, taken by the United States for the use of the War Department during the period of the existing emergency.
I trust that representatives of the War Department and representatives of your City will arrange for the immediate transfer of the possession of the property in question.
Very sincerely yours,
(S) Franklin D. Roosevelt.
Inclosure: Map.
13. On May 23,1941, the Deputy The Quartermaster General wrote the plaintiff as follows:
May 23,1941.
West Virginia Pulp and Paper Company,
Charleston, South Carolina.
TAKE NOTICE THAT:
WHEREAS by order of the President dated May 5, 1941, the property at Charleston, South Carolina, shown in red outline on the print of map attached hereto and made a part hereof, and all improvements placed thereon were taken for the use of the War Department during the present emergency in accordance with the Act of Congress approved May 27,1936 (49 Stat. 1387) and the deed executed pursuant thereto from the United States to the City of Charleston, dated June 15, 1936;
WHEREAS the West Virginia Pulp and Paper Company is occupying portions of said premises under a certain lease from the City of Charleston;
NOW, THEREFORE, you are hereby notified to vacate and forthwith deliver possession to the United States of the premises shown in red outline on said attached map and all improvements thereon, including, but not limited to, docks, piers, warehouses, wharves, terminal and railroad equipment and facilities, or parts *306thereof attached to said premises, and all and singular the rights, members, hereditaments and appurtenances to said premises belonging or in any wise incident or appertaining; provided that with a view of causing a minimum of inconvenience, you are allowed not to exceed ninety days in which to vacate these portions of said premises which the War Department determines are not immediately needed for rehabilitation work or other purposes.
DATED this 23d day of May, 1941.
(S) F. F. Scowden F. F. Scowden,
Brigadier Generad, Q. M. G., Deputy The Quartermaster General.
At various times thereafter, the plaintiff vacated parts of the tract and delivered them to the United States and the plaintiff finally complied in full with the demand of the Deputy The Quartermaster General on December 25,1941.
14. The plaintiff was, from the dates referred to in paragraph 12 hereof, excluded by the United States from all of such properties until February 4, 1947, except that, as to a portion of such properties, the plaintiff was permitted to have temporary possession thereof from on or about February 1,1946.
The plaintiff duly paid to the City Council of Charleston all rents reserved under the lease dated June 19,1936 without deduction, suspension or forgiveness and performed all obligations contained therein on its part to be performed throughout such period of possession, use and occupancy by the United States, and said lease was not during such period or any part thereof terminated, cancelled, suspended or otherwise modified.
The properties so possessed, used, and occupied by the United States consisted of the following: 91% acres of land on which were located improvements, including longitudinal docks with more than 1500 feet of deep water frontage, a headhouse of comparable length, warehouses, railroad tracks, railroad switches, a fire station, seven dwelling houses, a steel water tank and other structures, improvements and fixtures, all of which properties were held by plaintiff under the lease of June 19,1936, and had been so held by plaintiff *307continuously since that date until defendant’s re-entry in 1941.
15. Possession of said properties was taken for public use of the War Department of the United States and was so used. By reason of said taking by the United States of possession, use and occupancy of said properties so leased to the plaintiff, the plaintiff was deprived of the use and occupancy of said properties for a period in excess of five years and was compelled to and did remove its machinery, equipment, stores, offices and other property and its personnel from said properties on short notice and was compelled to and did relocate the same. In effecting such removal, the plaintiff necessarily incurred substantial costs and expenses. The plaintiff was also compelled to expend further substantial sums in obtaining, designing, constructing and equipping suitable buildings and other structures and in altering existing structures for the relocation of such machinery, equipment, stores, offices and other property and such personnel in order to continue the operation of the plaintiff’s said Kraft paper and paper board mill.
16. On February 3, 1947, the President of the United States wrote the following letter to the Mayor of Charleston:
The White House Washington, February 3,191fl.
My Dear Mayor Wehman :
In a letter of February 26,1941, signed by Franklin D. Roosevelt, then President of the United States, you were informed that in view of the existing national emergency and pursuant to the Act of Congress approved May 27, 1936 (49 Stat. 1387), a parcel of land and improvements thereon, adjoining the Charleston Ordnance Depot, South Carolina, as shown in red outline on the inclosed Map A, would be taken by the United States for the use of the War Department during the period of the existing emergency in order to provide a proper safety and operating zone for the ammunition dock at that Depot.
By letter dated May 5, 1941, you were informed that an additional parcel of land and improvements thereon, adjoining the Charleston Ordnance Depot in the location shown in blue outline on the inclosed Map B, would be taken for the use of the War Department during the national emergency
*308The Act of Congress, approved May 27,1936, authorizing the conveyance of the lands in question to the City of Charleston, and the deed of conveyance pursuant thereto, provide that in the event of a national emergency, the property conveyed, with all improvements placed thereon, may be taken upon order of the President of the United States for the use of the War Department during the period of such emergency.
As it has been determined that a military necessity for the use of the recaptured lands no longer exists, those lands taken upon the orders of the President, contained in the above-mentioned letters dated February 26, 1941, and May 5, 1941, are hereby upon this, my order, returned to the City of Charleston, South Carolina, subject to the conditions contained in that certain agreement by and between the City Council of Charleston, South Carolina, the West Virginia Pulp and Paper Company, lessee, and the United States of America, represented by the Division Engineer, South Atlantic Division, Corps of Engineers, United States Army, dated November 12, 1946._
Prior to actual transfer of possession to the City, The War Department will sell or remove certain structures and installed property which were placed on the property during the period of recapture. These structures and property will be designated by the representative of the War Department in making arrangements with representatives of your city for making transfer of the possession of the property hereby returned.
Very sincerely yours,
(S) Harry S. Truman. Honorable E. Edward Wehman, Jr.,
Mayor of Charleston, Charleston, South Carolina.
On February 4, 1947, pursuant to said order, possession, use and occupancy of said properties were returned to the plaintiff, except that as to a portion of said properties the plaintiff was permitted to have temporary possession thereof from or about February 1,1946. The conditions referred to in said order have been fully complied with.
17. Plaintiff has not received any sum for the use of the properties taken by and occupied by defendant during the period complained of. No other action has been had on the claim by plaintiff in Congress or by any department of the Government.
*309CONCLUSION OF LAW
Upon the foregoing findings of fact, which are made a part of the judgment herein, the court concludes that as a matter of law the plaintiff is entitled to recover. The amount of damages is to be ascertained in further proceedings before a commissioner of this court.

 Hearings before Committee on Merchant Marine and Fisheries on S. 3789 and H. J. Res. 228, 74th Cong. 2d Sess. 1936, p. 10.

